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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


   UNITED STATES OF AMERICA

   v.                                          Case No. 3:21-cr-42-MMH-MCR

   MELVIN EVINS NANCE



                                     ORDER

         THIS CAUSE is before the Court on Defendant's Unopposed Motion to

   Continue Trial and Other Deadlines (Dkt. No. 19; Motion) filed on September

   7, 2021.   In the Motion, Defendant requests that the Court continue the

   motions deadlines, status conference, and trial in this matter. See Motion at

   1. In support of the Motion, defense counsel asserts that additional time is

   needed to investigate this case and to confer with Defendant regarding his

   options.   See id.   Defendant represents to the Court that counsel for the

   government does not object to the relief requested in the Motion. See id. at 2.

   After due consideration, it is

         ORDERED:

         1.    Defendant's Unopposed Motion to Continue Trial and Other

               Deadlines (Dkt. No. 19) is GRANTED.
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         2.    This case is continued to the December 2021 trial term,

               commencing on December 6, 2021. As additional time is needed to

               investigate this matter and confer with Defendant, the Court finds

               that “the ends of justice served by the granting of such continuance

               outweigh the best interests of the public and the defendant in a

               speedy trial.” 18 U.S.C. § 3161(h)(7)(A).     The Court, therefore,

               determines that the time from today until the end of the December

               2021 trial term shall be "excludable time" pursuant to 18 U.S.C. §

               3161(h).

         3.    This case is stricken from the October 2021 trial calendar and

               defense counsel is relieved of the obligation of attending the status

               conference previously scheduled for September 20, 2021, at 3:00

               p.m.   Another status conference is scheduled for November 22,

               2021, at 3:00 p.m. before the undersigned in Courtroom 10B, Tenth

               Floor, United States Courthouse, 300 North Hogan Street,

               Jacksonville, Florida.




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         4.     Discovery motions are due by November 8, 2021, and dispositive

                motions are due by November 17, 2021.

         DONE AND ORDERED in Jacksonville, Florida this 8th day of

   September, 2021.




   ja

   Copies to:

   Counsel of Record




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